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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

JUAN CARLOS ALVAREZ,                       §
             Petitioner,                   §
                                           §
v.                                         §       No. 4:09-CV-03040
                                           §       DEATH PENALTY CASE
WILLIAM STEPHENS,                          §       ECF
Director, Texas Department of              §
Criminal Justice, Correctional             §
Institutions Division,                     §
                   Respondent.             §

         RESPONDENT STEPHENS’S SUPPLEMENTAL BRIEF
                  WITH BRIEF IN SUPPORT

      Petitioner, Juan Carlos Alvarez (Alvarez),1 participated in two gang-

related drive-by shootings that resulted in the deaths of Michael Aguirre and

Jose Varela. A Texas jury subsequently convicted Alvarez of capital murder

and sentenced him to die. Following unsuccessful direct appeal and initial writ

proceedings in state court, Alvarez sought federal habeas relief in this Court

pursuant to 28 U.S.C. §§ 2254 and 2241. Over the Director’s opposition (ECF2



1     Respondent William Stephens will be referred to as “the Director.”

2      “ECF” refers to entries to this Court’s electronic docket sheet, available on
PACER. “SX” refers to the State’s trial exhibits. “CR” refers to the clerk’s record of
pleadings and documents filed during Alvarez’s capital-murder trial. “RR” refers to
the reporter’s record of transcribed trial proceedings. “SHCR-01, -02, & -04” refer to
the clerk’s record of pleadings and documents filed during Alvarez’s first, second, and
third state habeas proceedings, respectively (the -03 writ was a petition for
mandamus). “Supp. SHCR-01” refers to the supplemental writ package that the trial
court forwarded to the CCA in conjunction with Alvarez’s first state habeas
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Nos. 9, 33, 34, 36.), this Court twice stayed federal proceedings to allow Alvarez

to return to state court and attempt to exhaust previously unpresented claims.

ECF Nos. 12, 35. Both of Alvarez’s subsequent state habeas applications were

dismissed by the Court of Criminal Appeals (CCA) as an abuse of the writ. Ex

parte Alvarez, No. 62,426-02 (Tex. Crim. App. Sept. 15, 2010) (per curiam)

(unpublished); Ex parte Alvarez, No. 62,426-04 (Tex. Crim. App. April 29, 2015)

(per curiam) (unpublished).

      Because the CCA dismissed Alvarez’s subsequent state applications as

an abuse of the writ, the procedural bar to federal review of these previously

unpresented claims remains intact. ECF No. 22 at 31-40. Indeed, the only

appreciable result of these two stays is that Alvarez’s claims are now actually

defaulted instead of merely prospectively defaulted.

      In supplemental briefing, Alvarez contends that many of his claims are

not unexhausted and defaulted because the state procedural bar was not

adequate and independent or they were presented in conjunction with his first

state habeas application or direct appeal. ECF No. 59 at 11 (incorporating by

reference ECF No. 31). Alternatively, Alvarez contends that he can evade the

procedural bar on his ineffective-assistance-of-counsel (IATC) claims under the




proceeding. All references are preceded by volume number and followed by page
number where applicable.


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Supreme Court’s holdings in Martinez v. Ryan3 and Trevino v. Thaler4 because

he received ineffective assistance of state habeas counsel (IASHC). ECF No. 59

at 11-59. But Alvarez’s arguments to the contrary are unavailing, and the

claims in question are unequivocally procedurally defaulted. And even if

Martinez or Trevino were somehow applicable, Alvarez has not shown that his

initial state habeas counsel was ineffective or that his underlying IATC claims

are substantial; thus, he is not be entitled to relief under the Martinez and

Trevino holdings. The Court should therefore refuse to allow Alvarez to

circumvent his procedural defaults and deny any federal habeas corpus relief.

I.    Procedural History

      Alvarez was convicted and sentenced to death by the 338th District

Court of Harris County, Texas. 1A CR 4, 486, 504-05; 17 RR 5. Alvarez

appealed his conviction and sentence to the CCA, which affirmed in an

unpublished opinion. Alvarez v. State, No. 73,648 slip op. (Tex. Crim. App. Oct.

30, 2002). Alvarez did not file a petition for a writ of certiorari.

      Alvarez also filed a state application for a post-conviction writ of habeas

corpus. 1 SHCR-01 2. In conjunction with this proceeding, he also filed a

supplemental brief, further addressing previously-raised claims based on the




3     132 S. Ct. 1309 (2012).

4     133 S. Ct. 1911 (2013).


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Vienna Convention on Consular Relations (VCCR). Supp. SHCR-01 2-32.

Considering the possibility that this supplement might constitute a successive

state habeas application, the trial court sent it to the CCA for evaluation. Id.

at 234-35. But the CCA found that the supplement only offered new precedent

and did not raise new claims. Ex parte Alvarez, No. 62,426-01, Order of June

6, 2007. Consequently, the CCA ordered the trial court to consider the

supplement to the extent appropriate. Id.

      The trial court subsequently made findings and conclusions, and the

CCA entered an order adopting the majority of the findings and conclusions

and denying state habeas relief. Ex parte Alvarez, No. 62,426-01 (Tex. Crim.

App. Sept. 24, 2008) (per curiam) (unpublished).

      Alvarez filed a skeletal federal habeas petition on September 18, 2009.

ECF No. 1. Alvarez also received permission from the Court to file an amended

petition. ECF No. 4. But before the amended petition was due, Alvarez sought

and received a stay from this Court in order to return to state court for a second

time and exhaust four new claims. ECF No. 5, 12. The CCA denied Alvarez’s

subsequent application as an abuse of the writ, and Alvarez was forced to

resubmit his federal habeas petition. Ex parte Alvarez, No. 62,426-02 (“[W]e

find that the allegations fail to satisfy the requirements of Article 11.071,

[Section] 5(a). Accordingly, the application is dismissed as an abuse of the




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writ.”); ECF No. 18. The Director answered, and Alvarez replied. ECF Nos. 22,

31.

       The Court then issued a second order staying this case so that Alvarez

could again return to state court the purpose of filing a subsequent state

habeas application arguing that he is entitled to relief from various procedural

bars under the CCA’s decision in Ex parte Medina5 and the Supreme Court’s

holdings in Martinez and Trevino. ECF Nos. 35, 37. The Director opposed

giving Alvarez a third opportunity to pursue state habeas relief. ECF Nos. 33,

34, 36.

       In state court, Alvarez refrained from filing his subsequent state writ

application while he applied for investigative funding from the trial court.6

ECF No. 43-1. Alvarez then attempted to appeal the trial court’s unappealable

order denying funding. Alvarez v. State, No. AP-77,035 (Tex. Crim. App. May

7, 2014) (per curiam) (unpublished) (“Appellant’s appeal is not permitted.

Appellant does not cite, nor have we found, any constitutional or statutory

provision or any rule that would authorize this appeal from the trial court’s


5      361 S.W.3d 633 (Tex. Crim. App. 2011).

6      State law does not provide for the appointment of counsel or expenses to
investigate potential grounds for filing a successive habeas application. See Tex. Code
Crim. Proc. art. 11.071 §§ 2, 5; see also Ex parte Blue, 230 S.W.3d 151, 165-67 (Tex.
Crim. App. 2007) (“That is the hurdle the Legislature has deemed appropriate for the
subsequent applicant who has, for whatever reason, bypassed his opportunity to avail
himself of the resources to which he would have been entitled had he raised the issue
in an initial writ application, when it was factually and legally available to him.”).


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order.”). Alvarez also filed a petition a writ of mandamus in an attempt to

secure the same funding. Ex parte Alvarez, No. 62,426-03 (Tex. Crim. App.

Sept. 17, 2014) (denying leave to file a petition for mandamus without written

order).

      After a year had passed without Alvarez filing his state habeas

application, the Director moved the Court to reopen Alvarez’s federal case.

ECF No. 42. The Court declined to reopen the case but instead directed Alvarez

to file a state habeas application or a motion to reopen within thirty days of

any action denying relief on his then-pending mandamus motion. ECF No. 44.

Once Alvarez actually filed his state habeas application on October 16, 2014—

sixteen months after the Court granted a stay—the CCA dismissed it, finding

that it constituted an abuse of the writ. 1 SHCR-04 at 1 (application); ECF No.

35 (order staying case on June 6, 2013); Ex parte Alvarez, No. 62,426-04 (“We

have reviewed the application and find that Applicant has failed to satisfy the

requirements of Article 11.071, [Section] 5(a). Accordingly, we dismiss the

application as an abuse of the writ without considering the merits of the

claims.”).

      After the dismissal of his second subsequent state habeas application,

Alvarez moved to reopen his federal case. ECF Nos. 47, 48. The Court entered

a scheduling order directing the parties to file supplemental briefs. ECF No.




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49. Alvarez recently filed his supplemental brief, and the Director now

responds. ECF No. 59.

                                   ARGUMENT

I.    Many Alvarez’s Claims Are Procedurally Defaulted.

      Many of Alvarez’s claims are procedurally defaulted as a consequence of

his failure to present them to the state court in a procedurally correct manner.

It is well-settled that federal courts “will not review a question of federal law

decided by a state court if the decision of that court rests on a state law ground

that is independent of the federal question and adequate to support the

judgment.” Coleman v. Thompson, 501 U.S. 722, 729 (1991); Harris v. Reed,

489 U.S. 255, 262 (1989). Thus, federal review of a habeas claim is procedurally

barred if the last state court to consider the claim expressly and

unambiguously based its denial of relief on a state procedural default. 7

Coleman, 501 U.S. at 729; Harris, 489 U.S. at 265; Amos v. Scott, 61 F.3d 333,

338 (5th Cir. 1995).

      Concerning the case-at-bar, Texas Code of Criminal Procedure Article

11.071 Section 5(a) prohibits a successive state habeas corpus application

except in limited circumstances. Williams v. Thaler, 602 F.3d 291, 306 (5th Cir.



7     A state court expressly and unambiguously bases its denial of relief on a state
procedural default even if it alternatively reaches the merits of a defendant’s claim.
Fisher v. Texas, 169 F.3d 295, 300 (5th Cir. 1999).




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2010) (recognizing Section 5 bars consideration on the merits of new claims

contained in a subsequent state habeas corpus application unless either: (1)

the new claims could not have been presented in a previous application because

the legal or factual basis for the new claims were unavailable at the time the

previous application was filed; (2) by a preponderance of the evidence, but for

a violation of the United States Constitution, no rational juror could have

found the applicant guilty beyond a reasonable doubt; or (3) by clear and

convincing evidence, but for a violation of the United States Constitution, no

rational juror would have answered in the state’s favor one or more of the

capital sentencing special issues). Thus, the state court’s dismissal of claims as

an abuse of the writ precludes federal habeas relief as a matter of law.

Balentine v. Thaler, 626 F.3d 842, 857 (5th Cir. 2010) (recognizing that Section

5 is an adequate state law ground for rejecting a claim); Aguilar v. Dretke, 428

F.3d 526, 533 (5th Cir. 2005) (“This court has consistently held that Texas’

abuse-of-writ rule is ordinarily an ‘adequate and independent’ procedural

ground on which to base a procedural default ruling.”); Matchett v. Dretke, 380

F.3d 844, 848 (5th Cir. 2004) (“Texas’ abuse-of-the-writ rule is ordinarily an

‘adequate and independent’ procedural ground on which to base a procedural

default ruling.”); Busby v. Dretke, 359 F.3d 708, 724 (5th Cir. 2004) (“the Texas

abuse of the writ doctrine is an adequate ground for considering a claim

procedurally defaulted.”); Barrientes v. Johnson, 221 F.3d 741, 758-59 (5th Cir.



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2000); Fuller v. Johnson, 158 F.3d 903, 906 (5th Cir. 1998); see also Moore v.

Texas, 535 U.S. 1044, 1047-48 (2002) (Scalia, J., dissenting) (recognizing Texas

abuse-of-the-writ statute as independent and adequate state ground).

          A petitioner may overcome the state procedural bar only “by

demonstrating (1) cause for the procedural default and actual prejudice as a

result of the alleged violation of federal law or (2) that failure to consider his

claims will result in a fundamental miscarriage of justice.” Pitts v. Anderson,

122 F.3d 275, 279 (5th Cir. 1997). A fundamental miscarriage of justice occurs

when the petitioner is “‘actually innocent’ of the offense underlying his

conviction or ‘actually innocent’ of the death penalty.” Roberts v. Thaler, 681

F.3d 597, 605 (5th Cir. 2012). As noted above, the Supreme Court expanded

the notion of cause to include IASHC in Martinez and found Martinez

applicable to Texas cases in Trevino.

          On direct appeal, Alvarez raised the following thirty-nine grounds for

relief:

          (1)   “The district court erred when it allow[ed] into evidence a coerced
                and involuntary written statement allegedly made by [Alvarez.]”

          (2)   “The district court erred when it allow[ed] into evidence a coerced
                and involuntary oral (video) statement allegedly made by
                [Alvarez.]”

          (3)   “The trial court erred by permitting the introduction of weapons
                recovered from [Alvarez’s] home[.]”




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  (4)   “The trial court erred by allowing into evidence State’s Exhibit 31,
        the cumulative photograph of the body of Michael Aguirre which
        was not relevant or the probative value [of which] was
        substantially outweighed by unfair prejudice[.]”

  (5)   “The trial court erred by allowing into evidence State’s Exhibits 87
        and 88, cumulative and unduly gruesome photographs of the
        deceased which were not relevant or the probative value [of which]
        was substantially outweighed by unfair prejudice[.]”

  (6)   “The trial court erred by allowing into evidence State’s Exhibit 96,
        cumulative and unduly gruesome photographs of the deceased
        which were not relevant or the probative value [of which] was
        substantially outweighed by unfair prejudice[.]”

  (7)   “The trial court erred by allowing into evidence State’s Exhibits
        133A, 133B, 133C, 133D, 133E, 133G, [and] 133H, which were
        allegedly photographs of [Alvarez] throwing gang signs which were
        not relevant or the probative value [of which] was substantially
        outweighed by unfair prejudice[.]”

  (8)   “The trial court erred by commenting on the weight of the evidence
        by commenting on the credibility of witness Brandy Varela on two
        occasions[.]

  (9)   “The trial court erred by commenting on the weight of the evidence
        by refusing to rules on a valid objection and commenting on the
        effectiveness of the trial prosecutor[.]

  (10) “The trial court erred by commenting on the weight of the evidence
       by commenting on the credibility of witness George Alderete on
       two occasions[.]

  (11) “The trial court erred by denying [Alvarez]’s motion for mistrial to
       the prosecutorial misconduct of creating before the jury a scene of
       extremely prejudicial emotion by showing a gruesome photograph
       of the deceased to his sister when such display had absolutely no
       probative value[.]”

  (12) “The trial court erred by overruling [Alvarez]’s hearsay objections
       to [the] prosecutor’s bad faith question to George Alderete as to



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            whether Juan Sibrian had identified [Alvarez] which resulted in
            prosecutorial misconduct and denied [Alvarez] a fair trial and
            therefore his right to due process[.]”

      (13) “The trial court erred by improperly limiting [Alvarez]’s cross-
           examination of Miguel Reyes by not allowing into evidence a prior
           inconsistent statement, prior inconsistent testimony, and plea
           papers of Miguel Reyes which denied [Alvarez] a fair trial and due
           process of law[.]”

      (14) The trial court erred by improperly limiting [Alvarez]’s cross-
           examination of Beth Kreuzer-Halling by not allowing into evidence
           the statement of Jessica Trevino as a declaration against interest
           which denied [Alvarez] a fair trial and due process of law[.]”

      (15) “The trial court committed reversible error in admitting, without
           competent evidence, testimony concerning comparison between a
           stain card from which blood was identified as a match to alleged
           blood on both weapons[.]”‘

      (16) “The trial court erred by overruling [Alvarez]’s objections to the
           medical examiner’s testimony about the autopsy of Adrian Aguirre
           which violated [Alvarez]’s right to a fair trial and due process[.]”

      (17) “[Alvarez]’s Brady[8] objections should have been sustained when
           trial counsel was not allowed to effectively cross-examine a key
           witness with exculpatory information[.]”

      (18) “The trial court erred by denying [Alvarez]’s request for a jury
           charge on the lesser included offense of murder[.]”

      (19) “The trial court erred by denying [Alvarez]’s request for a charge
           on the voluntariness of the alleged confession[.]”

      (20) “Improper prosecutorial jury argument by striking at [Alvarez]
           over trial counsel’s shoulder on three occasions violated [Alvarez]’s
           rights to a fair trial and due process of law[.]”




8     [Brady v. Maryland, 373 U.S. 83 (1963).]


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  (21) “Improper prosecutorial argument by attacking [Alvarez] in
       opening statement with a statement that people like him just don’t
       care violated [Alvarez]’s rights to a fair trial and due process of
       law[.]”

  (22) “Improper prosecutorial jury argument by arguing outside the
       record and threatening the jury with sequestration violated
       [Alvarez]’s rights to a fair trial and due process of law[.]”

  (23) “Improper prosecutorial jury argument by arguing outside the
       record that the jurors may be shot by one of [Alvarez]’s buddies
       violated [Alvarez]’s rights to a fair trial and due process of law[.]”

  (24) “Improper prosecutorial jury argument of personal opinions of the
       evidence was outside the record and violated [Alvarez]’s rights to
       a fair trial and due process of law[.]”

  (25) “After the jury received the charge and began deliberations the
       trial court erred by having an improper communication with the
       jury which amounted to additional instructions by the court[.]”

  (26) “The trial court erred by denying [Alvarez]’s motion to set aside
       indictment and quash indictment on the basis of a lack of Hispanic
       representation on the grand jury[.]”

  (27) “The trial court erred in denying [Alvarez]’s motion to suppress
       based on a violation of the international treaty [.]”

  (28) “The trial court’s denial of [Alvarez]’s motion for mistrial to the
       improper offer of the alleged clothing of extraneous victim Hugo
       Perez violated [Alvarez]’s right to a fair punishment hearing and
       due process[.]”

  (29) “The trial court’s admission of extraneous bad acts testimony
       violated Rule 403, Texas Rules of Criminal Evidence[.]”

  (30) “The trial court erred in overruling [Alvarez]’s motion for mistrial
       to the hearsay statement of Juan Nevarez concerning someone
       having a rifle which denied [Alvarez] a fair punishment hearing
       and due process[.]”




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  (31) “The trial court erred by allowing into evidence hearsay testimony
       from a probation officer concerning [Alvarez] being on probation at
       the time of this offense[.]”

  (32) “Improper prosecutorial punishment argument by attacking
       [Alvarez]’s race violated [Alvarez]’s rights to a fair trial and due
       process of law[.]”

  (33) “The trial court erred by overruling trial counsel’s objections to and
       requested charge on special issue number 2 in the charge on
       punishment in that the charge given lessens the state’s burden of
       proof[.]”

  (34) “The trial court’s denial of [Alvarez]’s motion to challenge
       prospective juror Lamerle Forest deprived [Alvarez] of a fair trial
       and due process of law[.]”

  (35) “The trial court’s denial of [Alvarez]’s motion to challenge
       prospective juror Jeffrey Lynn Sims deprived [Alvarez] of a fair
       trial and due process of law[.]”

  (36) “The trial court’s denial of [Alvarez]’s motion to challenge
       prospective juror Otto Henry Powell deprived [Alvarez] of a fair
       trial and due process of law[.]”

  (37) “The trial court erred in denying [Alvarez]’s motion to declare the
       Texas capital sentencing scheme unconstitutional and motion to
       preclude imposition of the death penalty[.]”

  (38) “The trial court erred by denying [Alvarez]’s offer at the
       punishment hearing of testimony from Dr. Laval that age is a
       factor that has been found to relate to dangerousness[.]”

  (39) “The trial court erred by denying [Alvarez]’s motion for instructed
       verdict on the grounds that the evidence was insufficient to prove
       that the two alleged murders were committed during the same
       criminal transaction[.]”




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See Appellant’s Brief at ii-x (table of contents) (formatting omitted). As noted

above, the CCA rejected Alvarez’s claims for relief and affirmed Alvarez’s

conviction and sentence. Alvarez v. State, No. 73,648, slip op.

      In his first state habeas application, submitted by original state habeas

counsel Leslie Ribnik and Susan Crump, Alvarez raised the following three

claims:

      (1)   “Article 37.071, [Texas Code of Criminal Procedure] is
            unconstitutional in violation of [Alvarez]’s right to due process
            under the Fifth and Fourteenth Amendments and in violation of
            the notice and jury trial guarantees of the Sixth Amendment[.]”

      (2)   “The State violated Article 36 of the Vienna Convention in the
            arrest and conviction of [Alvarez] and [Alvarez] is entitled to a new
            trial[.]”

      (3)   [Alvarez] was denied effective assistance of counsel where trial
            counsel failed to challenge the admissibility of evidence obtained
            in violation of the Vienna Treaty[.]”

SHCR-01 2-29 (formatting omitted).

      In a supplemental brief presented during his first state habeas

proceedings, Alvarez submitted further briefing on his VCCR claims. Supp.

SHCR-01 2-32. The trial court originally sent this supplement to the CCA,

thinking that it might constitute a successive state habeas application. Id. at

234-35. But the CCA found that the supplement was not successive and

directed the trial court to consider it as appropriate. Ex parte Alvarez, No.

62,426-01, Order of June 6, 2007, at 2.




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      During the pendency of his first state habeas application, current federal

habeas counsel began representing Alvarez after original state habeas counsel

fell ill. New counsel filed a motion to withdraw Alvarez’s initial writ. 4 SHCR-

01 235-309. However, it does not appear that this motion was ever granted. 2

SHCR 315 (unsigned order). Alvarez’s new counsel also filed a reply brief

alleging the VCCR violation adversely affected Alvarez’s trial and appellate

representation. 4-5 SHCR-01 390-1055.

      After filing a skeletal petition, Alvarez sought and received leave from

this Court to return to state court and attempt to exhaust previously

unpresented claims. Alvarez, represented by instant federal habeas counsel,

then filed a subsequent state habeas application that alleged:

      (1)   “The State violated [Alvarez]’s constitutional rights under [Brady]
            and related cases by failing to disclose serious problems with the
            Houston Police Department Crime Lab generally and the DNA
            evidence used against him at trial[.]”

      (2)   “[Alvarez]’s constitutional rights were violated when the
            prosecutor knowingly allowed Christy Kim to testify falsely[.]”

      (3)   “[Alvarez]’s constitutional rights were violated by prosecutorial
            misconduct due to the malfeasance of Christy Kim, the DNA
            analysts who examined the evidence in [Alvarez]’s case and
            testified falsely at his trial, and by the State’s failure to disclose
            substantial impeachment regarding [Kim][.]”

      (4)   “The State engaged in prosecutorial misconduct in maintaining,
            utilizing, and relying upon evidence from a government agency lab,
            the Houston Police Department property room, the conditions of
            which were deplorable and therefore the product of which




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            inherently unreliable, in violation of [Alvarez]’s constitutional
            rights[.]”

1 SHCR-02 46, 59, 61, 66. The CCA dismissed this application as an abuse of

the writ. Ex parte Alvarez, No. 62,426-02, slip op.

      After filing an amended petition (answered by the Director), the Court

granted Alvarez a second stay to return to state court. Alvarez filed a second

subsequent state habeas application that raised eleven claims for relief:

      (1)   “Trial counsel rendered ineffective assistance of counsel
            throughout all phases of the pre-trial, trial, and post-trial
            proceedings in this case[. . .]”

      (2)   “Trial counsel was ineffective for failing to effectively litigate and
            otherwise address the violation of [Alvarez]’s rights under the
            [VCCR.]”

      (3)   “The State violated [Alvarez]’s right to consular assistance
            pursuant to Article 37 of the [VCCR] and [Alvarez] was prejudiced
            by the violation[.]”

      (4)   “The State violated [Alvarez]’s constitutional rights under [Brady]
            and related cases by failing to disclose serious problems with the
            Houston Police Department Crime Lab generally and the DNA
            evidence used against him at trial[.]”

      (5)   “[Alvarez]’s constitutional rights were violated when the
            prosecutor knowingly allowed Christy Kim to testify falsely[.]”

      (6)   “[Alvarez]’s constitutional rights were violated by prosecutorial
            misconduct due to the malfeasance of Christy Kim, the DNA
            analysts who examined the evidence in [Alvarez]’s case and
            testified falsely at his trial, and by the State’s failure to disclose
            substantial impeachment regarding [Kim][.]”

      (7)   “The State engaged in prosecutorial misconduct in maintaining,
            utilizing, and relying upon evidence from a government agency lab,



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            the Houston Police Department property room, the conditions of
            which were deplorable and therefore the product of which
            inherently unreliable, in violation of [Alvarez]’s constitutional
            rights[.]”

      (8)   “The trial court’s refusal to conduct any pre-trial reliability
            determination regarding evidence of uncharged, unadjudicated,
            and/or other “bad act” evidence allegedly committed by [Alvarez],
            and the admission of such evidence, especially absent any
            requirement for a standard of proof, at the sentencing phase of
            [Alvarez]’s capital trial violated his constitutional rights[.]”

      (9)   “The trial court’s refusal to admit the custodial statements of c-
            defendant Jessica Trevino into evidence during the cross-
            examination of the police officer who obtained them from her,
            especially when such statements were highly probative on issues
            of guilt, culpability, and other related matters, violated [Alvarez]’s
            right to a fair trial[.]”

      (10) “The trial court’s refusal to charge the jury on the lesser included
           offense of murder violated [Alvarez]’s right to fair trial.”

      (11) “The trial court’s admission of photos allegedly of [Alvarez] making
           so called “gang signs” deprived [Alvarez] of a fundamentally fair
           trial.”

1 SHCR-04 2-4.

      The CCA dismissed this application as an abuse of the writ, and Alvarez

returned to federal court. Ex parte Alvarez, No. 62,426-04, slip op. at 2.

      As noted above, many of the claims in Alvarez’s amended petition are

now procedurally defaulted because he did not raise them in a procedurally

correct manner. Specifically (and shown in more detail below), Alvarez first




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presented claims 4 (Brady), 5 (Napue9), 6 (prosecutorial misconduct claim

concerning Kim), and 7 (prosecutorial misconduct claim concerning HPD store

room) in his first subsequent state habeas application, which the CCA found

to be an abuse of the writ. Furthermore, Alvarez did not properly raise claims

1 (free-standing IATC), aspects of claims 2 and 3 (the VCCR violation caused

Alvarez’s trial attorneys to ineffectively prosecute his case and resulted in him

receiving ineffective assistance of appellate counsel), 8 (extraneous offenses),

11 (Trevino statements), 13 (lesser-included charge), and 17 (photos), until his

second subsequent state habeas application—also found to be an abuse of the

writ—despite raising somewhat similar claims in his direct appeal brief and/or

other pleadings. Accordingly, all of these claims are procedurally defaulted.

      A.    Alvarez’s argument that his claims are not defaulted is
            without merit.

      In his supplemental brief, Alvarez claims that he exhausted his claims

and incorporates his reply brief by reference. ECF No. 59 at 11. In his reply

brief, Alvarez argued that: (1) the Section 5 bar was not independent and

adequate with respect to the claims raised in his first subsequent state habeas

application (ECF No. 31 at 54-60); (2) he fairly presented the legal and factual

basis of his several of his claims to the state court during direct appeal (id. at




9     Napue v. Illinois, 360 U.S. 264 (1959).


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32-33); and (3) he adequately presented his IATC claims in his initial state

habeas reply brief (id. at 32). As shown below, these assertions are meritless.

            1.    The Section 5 bar is independent and adequate.

      Alvarez’s claims 4 (Brady), 5 (Napue), 6 (prosecutorial misconduct claim

concerning Kim), and 7 (prosecutorial misconduct claim concerning HPD store

room) were all first raised in a state habeas application that was dismissed as

an abuse of the writ. 1 SHCR-02 1-83; Ex parte Alvarez, No. 62,426-02 slip op.

Consequently, they are unequivocally procedurally barred from federal review.

      Nevertheless, Alvarez argues in his reply brief that the state procedural

rule (i.e. Section 5) that the CCA explicitly applied to these claims is not

independent and adequate because the CCA allowed subsequent proceedings

in what Alvarez views as a substantially similar case. ECF No. 31 at 56-60

(citing Ex parte Alix, No. 50,786-02 (Tex. Crim. App. Jun. 23, 2004)). However,

the two cases are easily distinguishable. As shown below, the state court Alix’s

initial state habeas application was denied well before Alix discovered the

alleged Brady violation. In contrast, the State made its Brady disclosure in

Alvarez’s case during the pendency of Alvarez’s initial state habeas

application, during which time it was litigated between the parties.

      Indeed, the CCA denied Alix’s initial request for state habeas relief on

December 19, 2001. Ex parte Alix, No. 50,786-01 at Order (Tex. Crim. App. Dec.

19, 2001) (unpublished). After filing for federal habeas relief, Alix then moved



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for abatement alleging that he had discovered new claims pertaining to the

HPD Crime Lab’s testing of DNA in one of the extraneous homicides presented

at his trial. Alix v. Quarterman, 4:07-cv-00039 (S.D. Tex.) (ECF No. 8). The

federal court then dismissed the case without prejudice on October 29, 2003,

to allow Alix to exhaust his new claims in state court. Id. (ECF No. 16). The

CCA reviewed Alix’s application and determined that it met the exceptions for

a subsequent application under Section 5 before eventually denying relief. Ex

parte Alix, No. 50,786-02 & -03 (Tex. Crim. App. Sept. 27, 2006) (per curiam)

(unpublished).

      In Alvarez’s case, however, factual predicate of this claim was made

available to Alvarez at least as early as February 25, 2003, when the State

alerted counsel to potential Brady issues. 1 SHCR-01 94 (Brady Disclosure).

Original state habeas counsel sought and received discovery and retesting of

the DNA during initial state habeas proceedings. 1 SHCR 79 (Motion for

Preservation of Evidence); 88 (Motion to Abate); 153 (Request to Incur

Expenses); 158 (Order Granting Request to Incur Expenses); 161 (Motion for

Production); 166 (Order on Motion for Production).

      Accordingly, the two cases are distinguishable. Alix’s first habeas

application was denied before he was aware of the factual predicate of his claim

and therefore had no chance to litigate it at the time. Alvarez had knowledge




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of the factual predicate of his claims during his initial state habeas proceeding

and litigated them then.10

       Moreover, even if Alvarez and Alix were identically situated the bar is

still not inadequate. Amos, 61 F.3d at 342 (“we do not regard an occasional act

of grace by the Texas court in entertaining the merits of a claim that might

have been viewed as waived by procedural default to constitute such a failure

to strictly or regularly follow the state’s [. . .] rule as permits us to disregard

that rule generally or where the state court has not done so.”) (citation

omitted). The Fifth Circuit noted that “the question [is] whether the rule ‘is

strictly or regularly applied evenhandedly to the vast majority of similar

claims,’ and “‘the relatively few occasions. . . in which it might be said that the

[CCA] has disregarded the rule and its exceptions are not sufficient to undercut

the overall regularity and consistency of their application and thus the

adequacy of the state procedural bar.’” Hogue v. Johnson, 131 F.3d 466, 488

(5th Cir. 1997).




10    This is not to say that any of Alvarez’s prosecutorial-misconduct claims were
exhausted at this time—no claims for relief based on the alleged prosecutorial
misconduct were raised in Alvarez’s initial state habeas proceeding through a
properly filed and accepted amendment. Nevertheless, the factual predicate of the
claims was available to Alvarez at the time of his first state habeas proceeding and
the subject of litigation between the parties, as shown above.


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             2.    Alvarez did not fairly present the federal nature of
                   several of his claims.

       With respect to claims 8 (extraneous offenses), 11 (Trevino statements),

13 (lesser-included charge), and 7 (photos), the Director argued in his answer

that these claims were unexhausted and procedurally defaulted because

although somewhat similar claims were raised during direct appeal, they were

not presented as federal constitutional violations or presented on a different

legal or factual basis.11 Alvarez now argues—incorporating by reference his

reply brief—that he sufficiently raised these claims before the CCA because he

made passing references to due process or somewhat similar legal arguments.

ECF No. 31 at 31-32. However, Supreme Court and Circuit precedent make

clear that this is insufficient for exhaustion purposes.

       The exhaustion doctrine codified in 28 U.S.C. § 2254(b)(1) reflects a

policy of comity consistently adhered to by the Supreme Court and the Fifth

Circuit. Keeney v. Tamayo-Reyes, 504 U.S. 1, 8-10 (1992); Picard v. Connor, 404

U.S. 270, 275, 277-78 (1971); Dowthitt v. Johnson, 230 F.3d 733, 745-46 (5th

Cir. 2000). Before seeking federal habeas corpus relief, a state prisoner must

exhaust available state remedies, thereby giving the State the opportunity to

pass upon and correct alleged violations of its prisoners’ federal rights.




11    Alvarez later raised these claims in his procedurally defaulted second
subsequent state habeas application.


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Baldwin v. Reese, 541 U.S. 27, 29 (2004); O’Sullivan v. Boerckel, 526 U.S. 838,

842 (1999); 28 U.S .C. § 2254(b)(1). Under AEDPA12 federal courts lack the

power to grant habeas corpus relief on unexhausted claims. Kunkle v. Dretke,

352 F.3d 980, 988 (5th Cir. 2003) (“28 U.S.C. § 2254(b)(1) requires that federal

habeas petitioners fully exhaust remedies available in state court before

proceeding in federal court.”); Henry v. Cockrell, 327 F.3d 429, 432 (5th Cir.

2003) (“Absent special circumstances, a federal habeas petitioner must exhaust

his state remedies by pressing his claims in state court before he may seek

federal habeas relief.”).

       Thus, before a federal court will entertain alleged errors, a petitioner

must have first provided the state’s highest court with a fair opportunity to

apply (1) the controlling federal constitutional principles to (2) the same factual

allegations. Duncan v. Henry, 513 U.S. 364, 365-66 (1995); Rose v. Lundy, 455

U.S. 509, 522 (1982); Anderson v. Harless, 459 U.S. 4, 6 (1982); Thomas v.

Collins, 919 F.2d 333, 334 (5th Cir. 1990). This requirement is designed to give

state courts the initial opportunity to pass upon and, if necessary, correct

errors of federal law in a state prisoner’s conviction. Picard, 404 U.S. at 275-

76; Keeney, 504 U.S. at 10 (The purpose of exhaustion “is not to create a

procedural hurdle on the path to federal habeas court, but to channel claims




12     The Antiterrorism and Effective Death Penalty Act of 1996.


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into an appropriate forum, where meritorious claims may be vindicated and

unfounded litigation obviated before resort to federal court.”)

      To provide the State with this necessary “opportunity,” the prisoner

must fairly present his claim to the appropriate state court in a manner that

alerts that court to the federal nature of the claim. “Comity concerns dictate

that the requirement of exhaustion is not satisfied by the mere statement of a

federal claim in state court.” Keeney, 504 U.S. at 10. Thus, “daisy-chain”

citations—citations to state cases that cite federal constitutional law—do not

“meet [the Supreme] Court’s standards for proper presentation of a federal

claim.” Howell v. Mississippi, 543 U.S. 440, 443-44 (2005). Likewise, “[a]

fleeting reference to the federal constitution, tacked onto the end of a lengthy,

purely state-law evidentiary argument, does not sufficiently alert and afford a

state court the opportunity to address an alleged violation of federal rights.”

Wilder v. Cockrell, 274 F.3d 255, 260 (5th Cir. 2001).

      Additionally, the exhaustion requirement is not met if the petitioner

presents new legal theories or factual claims in his federal habeas petition.

Anderson v. Harless, 459 U.S. 4, 6-7 (1982); Riley v. Cockrell, 339 F.3d 308, 318

(5th Cir. 2008) (“It is not enough that the facts applicable to the federal claims

were all before the State court, or that the petitioner made a similar state-law

based claim. The federal claim must be the ‘substantial equivalent’ of the claim

brought before the State court.”); Wilder, 274 F.3d at 259 (“where petitioner



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advances in federal court an argument based on a legal theory distinct from

that relied upon in the state court, he fails to satisfy the exhaustion

requirement”).

       Here, Alvarez’s “fleeting” references to due process13 are insufficient to

fairly present the federal nature of his claims. Wilder 274 F.3d at 260; Canales

v. Stephens, 765 F.3d 551, 578 (5th Cir. 2014) (“Vague or fleeting references to

principles of constitutional law are not enough, nor will the fact that the

petitioner made a somewhat similar state law claim suffice.”) (internal

citations omitted). As a consequence, claims 8 (extraneous offenses), 11

(Trevino statements), and 17 (photos) are unexhausted and procedurally

defaulted because Alvarez’s direct appeal did not fairly apprize the state court

of the claims’ federal nature. The lesser-included-charge claim (claim 13) is

likewise procedurally defaulted because as explained in the Director’s answer,

Alvarez did not present it to the state court on the same legal theory as in his

federal habeas petition. ECF No. 22 at 129.

             3.    Alvarez improperly presented claims in his state
                   habeas reply brief.

       Alvarez argues that trial counsel rendered ineffective assistance

throughout pretrial, guilt-innocence, and sentencing. Petition at 44-140.



13     Alvarez’s citation to In re Murchison, 349 U.S. 133 (1955), relied upon on his
reply brief to show exhaustion, does not even occur in one of claims in question, but
rather an unrelated claim. ECF No. 31 at 32.


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However, as shown below, these claims were not properly presented to the

state courts. “If a petitioner wishes to exhaust his constitutional claims, he is

expected to present them before the state courts in a procedurally correct

manner. If he fails to do so, he has failed to give the state a fair opportunity to

pass upon those claims and, as a result, has failed to meet the requirements of

exhaustion.” McGee v. Estelle, 704 F.2d 764, 768 (5th Cir. 1983); 28 U.S.C. §

2254(b) (precluding federal habeas corpus relief when applicant has not

exhausted state court remedies); Picard, 404 U.S. at 275-76 (all the grounds

raised in a federal writ must have been fairly and properly presented to highest

state court); Satterwhite v. Lynaugh, 886 F.2d 90, 92-93 (5th Cir. 1989) (claims

must be presented in a procedurally correct fashion).

       Proper presentation of claims in Texas is generally accomplished

through a properly-filed state habeas application or direct appeal to the CCA.

See, e.g., Beazley v. Johnson, 242 F.3d 248, 264 (5th Cir. 2001) (“Beazley

did not raise this issue in either his direct appeal or his state habeas petition.”).

Furthermore, the CCA has held that an untimely amendment adding new

claims is not allowed under the statute governing habeas corpus petitions

seeking relief from a death sentence.14 Ex parte Medina, 361 S.W.3d at 636-37;



14     Alvarez’s initial state habeas application was filed at the end of the applicable
time period, thus not allowing for subsequent amendment. 1 SHCR-01 2-3. Section 4
of Article 11.071 of the Texas Code of Criminal Procedure states:




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Ex parte Graves, 70 S.W.3d 103, 106 (Tex. Crim. App. 2002) (emphasis added)

(rejecting an applicant’s attempt to supplement his habeas application because

the “filing was an ‘untimely supplement’ to the initial application” that did not

comply with Article 11.071); Wheat v. Johnson, 238 F.3d 357, 361 (5th Cir.

2001) (a late-filed supplement to a state application for a writ of habeas corpus

does not properly present a claim in the CCA).

      Here, Alvarez did not raise any IATC claims on direct appeal. See

generally Appellant’s Brief. Likewise, Alvarez also did not raise any IATC

claims in his original state habeas application save that counsel should have

challenged the admissibility of evidence allegedly obtained in violation of the




     (a)    An application for a writ of habeas corpus, returnable to the court
            of criminal appeals, must be filed in the convicting court not later
            than the 180th day after the date the convicting court appoints
            counsel under Section 2 or not later than the 45th day after the
            date the state’s original brief is filed on direct appeal with the
            court of criminal appeals, whichever date is later.

     (b)    The convicting court, before the filing date that is applicable to
            the applicant under Subsection (a), may for good cause shown and
            after notice and an opportunity to be heard by the attorney
            representing the state grant one 90-day extension that begins on
            the filing date applicable to the defendant under Subsection (a).
            Either party may request that the court hold a hearing on the
            request. If the convicting court finds that the applicant cannot
            establish good cause justifying the requested extension, the court
            shall make a finding stating that fact and deny the request for the
            extension.

     (c)    An application filed after the filing date that is applicable to the
            applicant under Subsection (a) or (b) is untimely.


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VCCR. 1 SHCR-01 2-28. He did not raise an IATC claim in his supplemental

application detailing the VCCR violation. Supp. SHCR-01 2-32.

       In his state habeas reply brief, Alvarez did claim that the VCCR violation

affected the quality of counsel’s representation, but no free-standing

ineffectiveness claims were made. 2 SHCR-01 390. Alvarez’s claims regarding

the quality of his trial and appellate representation were piggy-backed onto

the VCCR claim, and thus can only be addressed in that context. Moreover,

while the trial court addressed some allegations of ineffective assistance of

counsel in its findings, these specific findings were not adopted by the CCA.15

Ex parte Alvarez, No. 62,426-01, slip op. at 2. This likely reflected the CCA’s

belief that the ineffectiveness claims were not properly before the state habeas

court. Id.




15     In his supplemental brief, Alvarez asserts that the trial court did not consider
his reply brief at all. ECF No. 59 at 5 (“[. . .] current habeas counsel filed a Motion to
Withdraw Mr. Ribnik’s Application for Writ of Habeas Corpus [. . .] The state court
never addressed this motion.”) (“On that same date, [Alvarez] filed a Motion for
Evidentiary Hearing, Reply in Support of Application for Writ of Habeas Corpus and
Motion Renewing Request for an Evidentiary Hearing to Resolve Controverted
Material Facts, Motion Requesting Permission to Participate as Pro Hac Vice Counsel
and Motion Supporting Applicant’s Motion to Participate as Pro Hac Vice Counsel.
The state court never ruled on any of these filings submitted by Mr. Alvarez.), 6 (“On
May 23, 2008, the court issued Findings of Facts and Conclusions of Law, and an
Order sending all documents related to Mr. Alvarez’s case, 787007-A to the Texas
Court of Criminal Appeals pursuant to Article 11.071 of the Texas Code of Criminal
Procedure. The court did not rule on any of the [Alvarez]’s other pending motions or
pleadings.” To the extent this is true, then the arguments contained in these
documents are clearly procedurally defaulted because they were never considered
during the initial state habeas proceeding.


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       Nevertheless, to the extent that there is any doubt as to whether the

CCA reached the merits of these ineffectiveness claims, the CCA clarified the

matter during Alvarez’s second subsequent state habeas proceeding. The CCA

stated in its most recent order that “[t]he record also reflects that the federal

district court has entered an order staying its proceedings for [Alvarez] to

return to state court to consider his current unexhausted claims”—thus

reflecting the view of the CCA that the claims had not been considered

previously. Ex parte Alvarez, No. 62,426-04, slip op. at 2 (emphasis added).

Similarly, the concurrence explained that “[Alvarez] argues that, but for the

ineffectiveness of his initial state habeas attorney, he could have asserted a

‘robust’ claim of ineffective assistance of trial counsel in his initial application.”

Id., concurring opinion at 2. “[Alvarez] argues that, under these circumstances,

he ought to be allowed to raise his claim of ineffective trial counsel for the first

time in a subsequent state writ application.”16 Id., concurring opinion at 3

(emphasis added). “Suffice it to say that I am persuaded that, should this Court

refuse to reach the merits of [Alvarez]’s claim of ineffective assistance of trial

counsel, the federal courts may do so, and indeed may conduct their own review

de novo, not deferentially (since there is no state decision on the merits to defer




16     “He also make[s] a different, alternative argument for why this Court should
reach his [IATC for failure to investigate mitigating evidence] claim for the first time
in his second subsequent writ application[…]” Id. at 20 (emphasis added).


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to), under Martinez/Trevino.” Id., concurring opinion at 3 (emphasis added).

Thus, it is clear that the CCA did not believe that there was a decision on the

merits concerning Alvarez’s instant IATC claims during the first state habeas

proceeding.

        The requirements of the exhaustion concept are simple: An
        applicant must fairly apprise the highest court of his state of the
        federal rights which were allegedly violated. Further, the
        applicant must present his claims in a procedurally correct
        manner. If, for whatever reason, an applicant bypasses the
        appellate processes of his state—whether through procedural
        default or otherwise—he will not be deemed to have met the
        exhaustion requirement absent a showing of one of two
        particulars. He must either demonstrate cause and prejudice or
        show that the failure to consider his claims will result in a
        fundamental miscarriage of justice.

Deters v. Collins, 985 F.2d 789, 795 (5th Cir. 1993) (internal quotation marks

and citations omitted). As shown above, it is clear that raising IATC claims

piggy-backed onto a VCCR claim in a reply brief, was insufficient for the

purposes of exhausting the instant claims. Alvarez’s relevant IATC claims are

thus procedurally defaulted since they first reached the CCA in a subsequent

state habeas application (Alvarez’s second) that was rejected as an abuse of the

writ.

        B.    If Alvarez’s claims are not procedurally defaulted, then
              AEDPA’s relitigation bar applies.

        To the extent that the Court finds that these claims are procedurally

defaulted, the Director agrees with Alvarez that they must be considered de




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novo (since there is no state court decision to defer to). ECF No. 59 at 18-19.

However, to whatever extent that they were properly presented to the state

court (or otherwise addressed on the merits), then AEDPA’s deferential scheme

applies.

       C.    Alvarez is not entitled to evade his procedural bars under
             Martinez/Trevino.

       To the extent that Alvarez argues that he can circumvent the procedural

default of his claim under Martinez and Trevino, Alvarez fails to demonstrate

that he meets Martinez’s difficult17 requirements. In Martinez, the Supreme

Court held that when a State requires a petitioner to raise an IATC claim in

an initial-review collateral proceeding, the petitioner may establish cause to

excuse a default of that claim if either: (1) no counsel was appointed; or (2)

counsel in that proceeding was ineffective under the standards of Strickland.18

132 S. Ct. at 1320. Alvarez had state habeas counsel, and therefore, he must

demonstrate that his counsel was actually ineffective to qualify for Martinez

relief. Id. at 1318, 1320.




17    Even in Trevino’s case, subsequent district court proceedings did not
ultimately find state habeas counsel was ineffective. Trevino v. Stephens, 2015 WL
3651534 at *6 (W.D. Tex. Jun. 11, 2015) (unpublished) (“Petitioner has failed to carry
his burden under the [Martinez] standard of showing that his first state habeas
corpus counsel rendered ineffective assistance during Petitioner’s initial state habeas
corpus proceeding.”).

18     Strickland v. Washington, 466 U.S. 668, 695-96 (1984).


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            1.    Standard for ineffective assistance of appellate
                  counsel.

      Appellate counsel’s effectiveness is measured by the same standard

applied to trial counsel: whether the performance was objectively reasonable

and whether any deficient performance prejudiced the proceeding. Sharp v.

Puckett, 930 F.2d 450, 452 (5th Cir. 1991). Counsel is not ineffective merely

because he fails to raise issues that the defendant, his client, requests him to

raise. Smith v. Robbins, 528 U.S. 259, 285 (2000). Nor is counsel ineffective for

failing to raise every possible point on appeal. Id. at 288. Rather, appellate

counsel is obliged to raise and brief only those issues that he believes have the

best chance of success. Smith, 528 U.S. at 285; see also Engle v. Isaac, 456 U.S.

107, 134 (1982) (“[T]he constitution guarantees criminal defendants only a fair

trial and a competent attorney. It does not insure that defense counsel will

recognize and raise every conceivable constitutional claim.”). Only “solid,

meritorious arguments based on directly controlling precedent should be

discovered and brought to the court’s attention.” United States v. Williamson,

183 F.3d 458, 462-63 (5th Cir. 1999). In the instant case, it is clear that Ribnik

effectively investigated and prosecuted Alvarez’s case under the standards set

forth above. Indeed, Alvarez asserts a very different type of grievance against




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his attorney than the complaint levied by Martinez19—Alvarez only claims that

state habeas counsel failed to present certain claims and evidence in

conjunction with Alvarez’s state habeas application.

       2.     State habeas counsel was not ineffective.

       Here, the record reflects that Ribnik, Alvarez’s initial state habeas

counsel, filed a twenty-seven-page initial state writ, including VCCR and

ineffectiveness claims. 1 SHCR-01 1-27. Upon further developments in the law,

Ribnik moved to stay the case (id. at 170) and supplemented Alvarez’s VCCR

claims with new authority. Supp. SHCR-01 2-32. Alvarez’s VCCR supplement

contained almost two hundred pages of exhibits and affidavits. Id. at 34-227.

The trial court, thinking that this supplement might constitute a new habeas

application, sent it to the CCA for a determination. Ribnik objected in writing

and prevailed. Id. at 230-33. The CCA found that the supplement only offered

new precedent, did not raise new claims, and ordered the trial court to consider


19     Martinez was convicted in Arizona state court of sexual conduct with a minor.
Martinez, 132 S. Ct. at 1313-15. His conviction was affirmed on direct appeal. Id.
During the pendency of his appeal, Martinez’s appellate counsel initiated collateral
review in state court by filing a notice of post-conviction relief. Id. But counsel then
filed a statement that she could find no colorable claim for post-conviction relief. Id.
The state court gave Martinez the option of filing a pro se petition, but Martinez
alleged that his counsel failed to inform him that he needed to do so. Id. After the
time to file a petition expired, the trial court dismissed the collateral action. Id. Later,
represented by new counsel, Martinez filed a new notice of postconviction relief in
state court and alleged that Martinez’s trial counsel had been unconstitutionally
ineffective. Id. But Martinez’s petition was dismissed since he did not present the
claim in the first proceeding. Id. In subsequent federal habeas proceedings, the
district court denied Martinez’s claims as procedurally barred. Id.


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Alvarez’s claims to the extent they were appropriate. Ex parte Alvarez, No.

62,426-01 (Order of June 6, 2007).

      Ribnik also pursued the possibility of a Brady violation with respect to

the Houston Police Department’s handling of the DNA in Alvarez’s case. The

factual predicate of this claim was made available to Alvarez on February 25,

2003, when the State alerted counsel to potential Brady issues. 1 SHCR-01 94

(Brady Disclosure). Ribnik sought and received discovery and retesting of the

DNA during state habeas proceedings. 1 SHCR 79 (Motion for Preservation of

Evidence); 88 (Motion to Abate); 153 (Request to Incur Expenses); 158 (Order

Granting Request to Incur Expenses); 161 (Motion for Production); 166 (Order

on Motion for Production).

      Additionally, the affidavit supplied by Ribnik (and attached to Alvarez’s

federal habeas reply brief) shows his investigation and preparation of Alvarez’s

state writ. ECF 31-1 at 36-38 (using ECF numbering). Ribnik states that he

met with Alvarez in prison at least four times. Id. He requested and reviewed

the statement of facts and the transcript over the span of more than a month.

Id. He reviewed the State’s file and spent three days taking notes at the DA’s

office. Id. He reviewed this information with Alvarez in prison. Id. He did legal

research. Id. He met with Alvarez’s direct appeal attorney to discuss the case.

Id. He met with Alvarez’s trial attorney and received the attorney’s case file.

Id. He discussed a possible mitigation case with a specialist, but he opted not



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to pursue a mitigation investigation Id. He met with six members of Alvarez’s

immediate family, Alvarez’s mother, and two siblings. Id. He discussed juror

conduct with Alvarez and reviewed the voir dire transcript. Id. It is difficult to

see how this comports with Alvarez’s contention that there were “no

investigations on [Alvarez]’s behalf.” ECF No. 59 at 59.

       Moreover, as noted by the Court, attorney Susan Crump signed Alvarez’s

initial habeas application in addition to Ribnik. ECF No. 35 at 4 n.1. The

Government of Mexico was also involved in Alvarez’s case and may have

provided counsel and resources. Id. And current federal counsel later

represented    Alvarez    in   state   habeas    proceedings     following   Ribnik’s

withdrawal.

       Alvarez asserts that Ribnik has displayed a “pattern” of ineffective

assistance in other cases.20 ECF No. 59 at 32-40. However, it is clear that

Ribnik’s performance in other cases has little relevance to this proceeding,

since Alvarez must necessarily show that Ribnik was ineffective in Alvarez’s

own case to obtain Martinez/Trevino relief. “Both prongs of the Strickland test

[] require examination of the specific conduct and decisions made by counsel in

the particular case; [petitioner] cannot establish that the representation he


20     Alvarez argues that Dr. Michael Adelberg has opined that Ribnik was likely
suffering from the deleterious effects of Parkinson’s disease during his representation
of Alvarez. ECF No. 59 at 38-40. But Dr. Adelberg’s retroactive assessment without
personal evaluation of the patient in question is obviously of extremely dubious
probative value.


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received was constitutionally inadequate merely from evidence about [his

attorney’s] reputation or conduct in other cases.” Anderson v. Collins, 18 F.3d

1208, 1215 (5th Cir. 1994).

      Regardless, prejudice cannot be shown in the absence of a reasonable

probability that, but for counsel’s omitting a particular ground of error, the

case would have been reversed on appeal. Smith, 528 U.S. at 285. Reviewing

courts must consider the totality of the evidence before the finder of fact in

assessing whether the result would likely have been different absent the

alleged errors of counsel. Strickland, 466 U.S. at 695-96. Petitioners must also

“affirmatively prove prejudice.” Id. at 693. They cannot satisfy the second

prong of Strickland with mere speculation and conjecture. Bradford v. Whitley,

953 F.2d 1008, 1012 (5th Cir. 1992).

      As shown below and in the Director’s answer, Alvarez’s IATC claims are

without merit. ECF 22 at 39-87. Because Alvarez’s underlying IATC claims are

without merit, there is no way that Alvarez can make the “substantial”

showing required by Martinez that he was prejudiced by state habeas counsel’s

alleged deficiencies. 132 S. Ct. at 1318-19 (requiring a showing “that the

underlying [IATC] claim is a substantial one, which is to say that the prisoner

must demonstrate that the claim has some merit”); Canales, 765 F.3d at 568,

571. Thus, Alvarez is not eligible to circumvent the procedural bars to review

of his claims.



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            3.    Alvarez’s argument under Canales is meritless.

      Alvarez asserts that under Canales, the Fifth Circuit has proposed a

three-part test for evaluating Martinez claims: “(1) that counsel in initial-

review state collateral proceedings was deficient, meaning their performance

fell below an objective standard of reasonableness; (2) that the underlying

[IATC] claim is substantial, meaning it has ‘some merit’; and (3) that the

petitioner suffered prejudice as a result of the unreasonable performance of his

trial counsel. ECF No. 59 at 14-15 (citing Canales, 765 F.3d at 567-68). But

Alvarez’s proposed test suggests that Canales stands for the proposition that

the evaluation of state habeas counsel is solely predicated on deficient

performance absent a prejudice component (or, perhaps, that the prejudice

component is subsumed and reduced into the “some merit”/substantiality

analysis). Such a view is contradicted by other published Fifth Circuit

precedent on this matter that holds that state habeas counsel must be

evaluated for both deficiency and prejudice under Strickland. “To establish

ineffective assistance of state habeas counsel [under Martinez], [petitioner]

must show both that habeas counsel’s performance—in failing to present to the

state habeas court the evidence that he presented for the first time in federal

court—was deficient and that he was prejudiced by the deficient

performance—that is, that there is a reasonable probability that he would have

been granted state habeas relief had the evidence been presented in the state



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habeas proceedings. Newbury v. Stephens, 756 F.3d 850, 872 (5th Cir. 2014)

(citing Strickland and Martinez); see also Beatty v. Stephens, 759 F.3d 455, 466

(5th Cir. 2014) (citing Garza v. Stephens, 738 F.3d 669, 676 (5th Cir. 2013),

cert. denied, 134 S. Ct. 2876 (2014), for the proposition that “habeas counsel

was not ineffective in failing to raise [a] claim at the first state proceeding”

because “there was no merit to [the petitioner’s] claim”).21 To the extent that

Canales calls for something other than the evaluation called for Newbury,

Beatty, and Garza, the Court should follow the aforementioned opinions and

not Canales.

       Indeed, the Canales opinion is extremely opaque and does not provide

clear guidance on this issue. For instance, it is unclear whether Canales has

received any relief under Martinez, or if such relief remains in question

following the Fifth Circuit’s remand to the district court for a determination on

prejudice. The panel stated that “Canales has established cause to excuse the

procedural default of his claim of ineffective assistance of trial counsel at

sentencing,” but then stated that “[w]e remand this claim for the district court

to consider whether Canales can prove prejudice as a result of his trial



21     Rayford v. Stephens, 622 F. App’x 315, 332 (5th Cir. 2012) (unpublished)
(“Rayford’s claim here is that his state habeas counsel provided ineffective
assistance[. . . .] We apply the two-step test set out in [Strickland], which first
requires a defendant to “show that counsel’s performance was deficient. [. . .] In the
second step, the defendant is required to prove that his attorney’s deficient
performance prejudiced his defense.”).


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counsel’s deficient performance, and if so, to address the merits of his habeas

petition on this claim.” Canales, 765 F.3d at 571. Given that the prejudice

analysis was not undertaken by the panel and left for the district court, it is

difficult to see how the panel could have found state habeas counsel ineffective

(since prejudice is a component of the evaluation of an attorney’s

ineffectiveness) or how the underlying IATC claim could have some merit (with

prejudice likewise a component)—both of which are required to allow evasion

of a bar under Martinez. Likewise, in relation to another of Canales’s claims

for Martinez relief, the panel stated that “[t]o excuse the procedural default

fully, Canales would then be required to prove that he suffered prejudice from

the ineffective assistance of his trial counsel.” This would seem to suggest that

the panel believed that the claim remanded had not been “fully” excused since

the prejudice analysis had not been conducted.

      The Eastern District of Virginia has ably explained the interlocking and

“matrioshkan” prejudice standards in Martinez and correctly set forth the

issue with the Canales opinion:

             The first element of Martinez deals with the underlying,
      otherwise procedurally defaulted [IATC] claim. Specifically, the
      prisoner must “demonstrate that the underlying [IATC] is a
      substantial one, which is to say that the prisoner must
      demonstrate that the claim has some merit.” Martinez, 132 S. Ct.
      at 1318. The Supreme Court indicated that the “some merit”
      threshold bore some relation to the standards for issuing a
      certificate of appealability (“COA”). Id. at 1318-19 (citing Miller–




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       El v. Cockrell, 537 U.S. 322 (2003)).22 Phrased in the alternative, a
       claim is not substantial if “it does not have any merit or is wholly
       without factual support.” Id. at 1319. Obviously, this requires
       consideration of the claim under the standards for effective
       assistance of counsel first outlined in [Strickland]:(1) whether the
       petitioner’s trial “counsel’s performance was deficient”; and (2)
       whether “the deficient performance prejudiced the defense.” 466
       U.S. at 687.

              The second element of Martinez focuses on the petitioner’s
       state-habeas proceedings. Specifically, the petitioner must
       establish that he either lacked counsel or had ineffective counsel
       during his state-habeas proceedings. 132 S. Ct. at 1318. If the
       prisoner lacked counsel entirely, then the element is met
       automatically. If the prisoner had state-habeas counsel, however,
       this element requires a full analysis under Strickland to determine
       whether the state-habeas counsel’s conduct fell below the
       constitutionally permissible threshold and prejudiced the outcome
       of the habeas proceeding.23 To be clear, this Strickland analysis
       applies to the conduct of the prisoner’s state-habeas counsel, and
       asks specifically whether he or she was constitutionally ineffective
       for failing to raise trial counsel’s ineffectiveness.

            Although Martinez separates the first and second elements,
       the two blend together. Specifically, the prejudice prong for

22     “Under the controlling standard [for issuing a COA], a petitioner must show
that reasonable jurists could debate whether (or, for that matter, agree that) the
petition should have been resolved in a different manner or that the issues presented
were adequate to deserve encouragement to proceed further.” Miller-El, 537 U.S. at
336 (internal quotations and alterations omitted). [footnote in original]

23     Some courts have determined that the second Martinez element focuses only
on the deficiency prong of Strickland and bypasses the prejudice prong. See, e.g.,
[Canales, 765 F.3d at 569]; Detrich v. Ryan, 740 F.3d 1237, 1245-56 (9th Cir.2013)
(en banc) (plurality opinion). But Martinez itself requires an analysis of whether the
state-habeas counsel “was ineffective under the standards of Strickland.” 132 S. Ct.
at 1318 (emphasis added). This indicates that both prongs must be considered.
Without any indication that the habeas-ineffectiveness claim is limited to only the
first half of Strickland, the Court must apply the whole test. See, e.g., [Newbury, 756
F.3d at 872]; Clabourne v. Ryan, 745 F.3d 362, 377 (9th Cir. 2014). [footnote in
original]


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     habeas-level ineffectiveness requires a consideration of the merits
     of the underlying trial-level ineffectiveness claim, because
     Strickland prejudice requires consideration of “whether it is
     ‘reasonably likely’ the result would have been different” in that
     proceeding. Harrington v. Richter, 562 U.S. 86, 112 (2011) (quoting
     Strickland, 466 U.S. at 693). In reviewing a Martinez claim, a court
     asks whether the state-level habeas proceeding would have come
     to a different result if habeas counsel brought forward the trial-
     level ineffectiveness claim. “Thus, the facts that bear on the
     Strickland prejudice analysis and the Martinez substantiality
     analysis will largely be the same,” because both questions ask a
     court to consider the merits of that underlying claim. Teleguz v.
     Davis, No. 7:10-cv-254, 2014 WL 3548982, at *24 (W.D. Va. July
     17, 2014). Somewhat circuitously, therefore, the Martinez
     exception to the procedural-default bar includes within it
     consideration of the merits of the procedurally defaulted claim.

                                  [. . .]

            A preliminary merits review of each [IATC] claim gives the
     Court the most efficient manner in which to decide the
     applicability of Martinez to the amended claims. If an underlying
     trial-ineffectiveness claim has no merit, then it fails not only under
     Martinez’s first element, but also the second element, because
     state-habeas counsel could not have been ineffective for failing to
     raise a meritless claim. See, e.g., Moore v. United States, 934 F.
     Supp. 724, 731 (E.D. Va. 1996) (“Failure to raise a meritless
     argument can never amount to ineffective assistance.”). If the
     underlying claim has some merit, then the Court must decide
     whether state-habeas counsel’s failure to raise it during the initial-
     review collateral proceedings violated the standards from
     Strickland. If state-habeas counsel lived up to the constitutional
     standard, then the amended claims are procedurally defaulted. If,
     on the other hand, the amended claims meet both the first and
     second elements, then the Court can determine the appropriate
     relief on the merits.

Juniper v. Zook, 117 F. Supp.3d 780, 789-91 (E.D. Va. Aug. 3, 2015).




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        Indeed, Martinez calls into play no less than four prejudice standards—

the prejudice standard in evaluating IATC, the prejudice standard in

evaluating IASHC, the substantiality requirement in Martinez itself, and the

prejudice in the cause-and-prejudice standard required to excuse a procedural

default. As suggested by the Virginia district court, the most efficient way to

dispose of such claims is simply to conduct a preliminary review of the

underlying IATC claim’s merits. If the underlying IATC claim has no merit,

then no further work from the Court is required and the claim can be

summarily denied both on the merits with the procedural bar indisputably

intact.24

II.     Alvarez’s Underlying IATC Claims Are Meritless.

        Alvarez’s IATC claims can be denied on the basis of the existing record.25

Alvarez provided lengthy briefing in his petition concerning his IATC claims.

ECF No. 18 at 44-140. The Director answered, explaining why counsel’s




24    Nevertheless, to whatever extent that the Court wishes to evaluate the
performance of state habeas counsel, the Court should employ the full Strickland
evaluation called for by Newbury, Beatty, and Garza, and not the approach that
Alvarez advocates.

25    The Fifth Circuit has previously denied an IATC claim based on a first-in-time
review conducted by that court without remand, thereby demonstrating that
Martinez does not require a hearing on a procedurally defaulted IATC claim and may
be resolved on the merits based solely on the record. See, e.g., Reed v. Stephens, 739
F.3d 753, 774-75 (5th Cir. 2014); see also Canales, 765 F.3d at 569 n.2 (leaving the
determination of whether an evidentiary hearing is appropriate to the district court).


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performance was not ineffective.26 ECF No. 22 at 39-87. Given the length of

Alvarez’s briefing, the Director will rely on his answer to show that Alvarez’s

trial counsel was not deficient. Id.

       But the Director does note that even assuming arguendo that counsel’s

performance was deficient at pretrial, guilt-innocence, or in any other respect,

Alvarez has not demonstrated that he was prejudiced as a result. In order to

establish that he has sustained prejudice, Alvarez “must show that there is a

reasonable probability that, but for counsel’s unprofessional errors, the result

of the proceeding would have been different. Strickland, 466 U.S. at 694. A

reasonable probability is a probability sufficient to undermine the confidence

in the outcome.” Id. Here, the evidence of Alvarez’s guilt included Alvarez’s

videotaped statement admitting his presence at the Prestwood and Woodfair

shootings and as well as possession of the assault rifle and shotgun (21 RR 56-

62; SX 138), the fact that the weapons were found in Alvarez’s closet (21 RR

178-212; SX 58; SX 99), eyewitness and accomplice testimony that placed


26     See, e.g., Richter, 562 U.S. at 110 (“Strickland does not guarantee perfect
representation, only a reasonably competent attorney.”); Smith v. Collins, 977 F.2d
951, 960 (5th Cir. 1992) (“The defense of a criminal case is not an undertaking in
which everything not prohibited is required. Nor does it contemplate the employment
of wholly unlimited time and resources.”); Ross v. Estelle, 694 F.2d 1008, 1012 (5th
Cir. 1983) (citations omitted) (“Countless times [the Fifth Circuit has] indicated that
competency and adequacy are all that the Constitution commands of trial counsel.
Counsel is not required to be errorless in his work, though surely that is a worthy
goal. Effective assistance of counsel means ‘not errorless counsel, and not counsel
judged ineffective by hindsight, but counsel reasonably likely to render and rendering
reasonably effective assistance.’”).


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Alvarez at the shootings (18 RR 131-87; 19 RR 11-49, 176-213; 20 RR 8-64),

and the DNA evidence showing a victim’s blood to the weapons. 22 RR 83-126.

      Furthermore, with respect to punishment, the record reflects that the

State produced evidence of Alvarez’s commission of various extraneous

offenses, including: (1) the drive-by shooting murder of Juan Nevarez (25 RR

9-98); (2) the drive-by shooting of Jesus Bear and Aniceto Espinoza (25 RR 98-

202; 26 RR 5-39); (3) the aggravated robbery of Tomas Carreon, Jr. (26 RR 39-

60, 124-43); and (4) the aggravated assault of Alex Trajejo, for which Alvarez

received eight years deferred adjudication community supervision (26 RR 61-

123). The defense, on the other hand, presented testimony from lay and expert

witnesses, including but not limited to a psychologist, Alvarez’s sisters, and his

mother. ECF No. 22 at 21-24. These individuals related information to the jury

concerning Alvarez’s personal history, family background, and mental-health

issues. Id. Moreover, the allegedly omitted personal history relied upon by

Alvarez hardly compares the ones found prejudicially omitted by the Supreme

Court in other cases. See e.g., Rompilla v. Beard, 545 U.S. 374, 390-92 (2005);

Wiggins v. Smith, 539 U.S. 510, 516-17, 525, 534-35 (2003); Williams v. Taylor,

529 U.S. 362 395 (2000); see also ECF No. 22 at 83-87. Thus, even if this Court

finds deficient performance by trial counsel, Alvarez is not entitled to relief on

any of his IATC claims due to a failure to show prejudice. Ramirez v. Dretke,




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398 F.3d 691, 697 (5th Cir. 2005) (reiterating that both prongs of the Strickland

test must be satisfied in order to be entitled to relief).

III.     Alvarez Is Not Entitled to Funding or a Hearing to Investigate
         His Procedurally-Defaulted Ineffectiveness Claims.

         Alvarez concedes in his supplemental brief that “Martinez does not

address the right to competent counsel to conduct initial-review litigation of

ineffectiveness claims in federal court.” ECF No. 59 at 19-22. However, he

nevertheless contends that “the same considerations that led the Supreme

Court to conclude that competent counsel is necessary to conduct initial-review

litigation in state court apply equally to initial-review litigation in federal

court.” Id. He therefore asserts that he is entitled to funding and resources to

pursue his IATC claims, as well as an evidentiary hearing to conduct factual

investigation.27 Id.




27     To the extent that Alvarez persists in contending that his IATC claims are
exhausted through presentation during his initial state habeas proceeding, he is also
not entitled to funding for any additional investigation. Except for the narrow
exceptions contained in 28 U.S.C. § 2254(e)(2), the evidence upon which Alvarez
would now challenge the state court’s findings on exhausted IATC claims must have
been presented to the state court. Cullen v. Pinholster, 563 U.S. 170, 179-81 (2011).
Furthermore, the Fifth Circuit has held that “once a claim is considered and denied
on the merits by the state habeas court, Martinez is inapplicable, and may not
function as an exception to Pinholster’s rule that bars a federal habeas court from
considering evidence not presented to the state habeas court.” Escamilla v. Stephens,
749 F.3d 380, 395 (5th Cir. 2014) (citing Gallow v. Cooper, 505 F. App’x 285, 291 (5th
Cir. 2012), Ross v. Thaler, 511 F. App’x 293, 305 (5th Cir. 2013), cert. denied 134 S.
Ct. 23 (2013)).


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      But the Fifth Circuit has “rejected the argument that Martinez and

Trevino require the granting of funds to develop claims[.]” Allen v. Stephens,

805 F.3d 617, 638-39 (5th Cir. 2015) (citing Crutsinger v. Stephens, 576 F.

App’x 422, 431 (5th Cir. Aug. 4, 2014) (unpublished), cert. denied 135 S. Ct.

1401 (2015) (“Martinez [] does not mandate pre-petition funding, nor does it

alter our rule that a prisoner cannot show a substantial need for funds when

his claim is procedurally barred from review.”)); see also Wilkins v. Stephens,

560 F. App’x 299, 315 (5th Cir. Mar. 25, 2014) (unpublished), cert. denied 135

S. Ct. 1397 (2015) (affirming denial of funding on procedurally defaulted

claims); Sells v. Stephens, 536 F. App’x 483, 499 (5th Cir. July 22, 2013)

(unpublished), cert. denied 134 S. Ct. 1786 (2013) (“[O]ur precedent is clear

that a habeas petitioner is not entitled to investigative funds” on claims that

are defaulted.); Woodward v. Epps, 580 F.3d 318, 334 (5th Cir. 2009) (a

petitioner cannot establish a substantial need when his claim is procedurally

barred, or when the sought-after assistance would only support a meritless

claim);. Because Alvarez’s IATC claims are procedurally defaulted, Alvarez is

not entitled to funds under Allen, Wilkins, Crutsinger, Sells, and Woodward

unless he has first demonstrated that he can circumvent the procedural bar to

federal review of his claims.

      Moreover, Alvarez’s reliance on Mendoza is misplaced. ECF No. 59 at 21.

Since Martinez and Trevino, a number of federal habeas petitioners have



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argued that they are entitled to “conflict-free” counsel—i.e., different state and

federal habeas counsel. See, e.g., Mendoza v. Stephens, 783 F.3d 203 (5th Cir.

2015); Speer v. Stephens, 781 F.3d 784 (5th Cir. 2015); Tabler v. Stephens, 591

F. App’x 281 (5th Cir. Jan. 27, 2015) (per curiam) (unpublished). But while

Mendoza, Speer, and Tabler recognize that substitution of federal habeas

counsel, or appointment of additional counsel, is warranted when that counsel

must review their prior work, these cases plainly did not create or recognize a

right to funding or the effective assistance of federal habeas counsel.

      In any event, considering the already extensive briefing in this matter,

it would appear that the case requires no additional investigation and is ripe

for immediate adjudication. As noted by the Court:

      Before returning to state court for his third round of habeas
      review, Alvarez had already filed a detailed and fact-intensive
      federal habeas petition. His federal petition spans 310 pages, not
      including 77 exhibits. His amended petition contains 330 pages.
      This Court stayed the case to allow exhaustion of Alvarez’s
      argument that state habeas counsel provided ineffective
      representation. Alvarez has already provided this Court with
      significant briefing, including important factual support,
      regarding that allegation.

ECF No. 44 at 2. Accordingly, the Court should proceed to rule on Alvarez’s

claims and deny any federal habeas relief.

                                CONCLUSION

      For the reasons set forth above, as well as the Director’s answer and his

other pleadings, the Director asks that the Court deny any habeas relief.



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                       CERTIFICATE OF SERVICE

      I do hereby certify that March 15, 2016, I electronically filed the

foregoing pleading with the Clerk of the Court for the U.S. District Court,

Southern District of Texas, using the electronic case-filing system of the Court.

The electronic case-filing system sent a “Notice of Electronic Filing” to the

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